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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           TERRE HAUTE DIVISION

  LISA MARIE MONTGOMERY,                       )
                                               )
                           Petitioner,         )
                                               )
                      v.                       )   No. 2:21-cv-00020-JPH-DLP
                                               )
  WARDEN OF USP TERRE HAUTE, IN, et            )
  al.                                          )
                                               )
                           Respondents.        )

              ORDER GRANTING MOTION TO STAY EXECUTION
                   PENDING A COMPETENCE HEARING

        Petitioner Lisa Montgomery is scheduled to be executed tomorrow,

  January 12, 2021, at the United States Penitentiary in Terre Haute, Indiana

  (USP – Terre Haute). Ms. Montgomery has filed a petition for writ of habeas

  corpus pursuant to 18 U.S.C. § 2241, alleging that she is incompetent to be

  executed under Ford v. Wainwright, 477 U.S. 399 (1986), and a motion to stay

  execution. Dkt. 1; dkt. 12. For the reasons that follow, the motion to stay is

  GRANTED.

                                  I.     INTRODUCTION

        In 2007, a jury convicted Ms. Montgomery of kidnapping resulting in death

  in violation of 18 U.S.C. § 1201(a)(1). After hearing additional evidence at the

  sentencing phase of the trial, the jury found that the government had proven

  aggravating factors that warranted imposition of the death penalty, including

  that Ms. Montgomery committed the offense in an especially heinous or depraved

  manner. Ms. Montgomery raised her mental state as a defense at trial and as a


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  basis for relief in post-conviction proceedings. The verdict and sentence imposed

  were upheld both on appeal and during post-conviction relief proceedings.

        In this case, Ms. Montgomery does not further challenge the validity of the

  conviction or sentence imposed. Rather, the sole issue presented is whether the

  government may lawfully execute Ms. Montgomery in her current mental state.

  Ms. Montgomery's counsel contend that executing her would be unconstitutional

  because her current mental state makes her unable to understand why the

  government seeks to execute her. They ask the Court to stay the execution so

  that the Court can hold a hearing and make findings about Ms. Montgomery's

  current mental condition based on a fully developed record.

        In support of her motion to stay, Ms. Montgomery presents evidence from

  three expert witnesses who have each either treated Ms. Montgomery or

  interviewed her on multiple occasions. They all discuss Ms. Montgomery's

  history of mental illness, the specific diagnoses and corresponding treatments,

  and their discussions with Ms. Montgomery's counsel regarding her recent

  behavior. They all conclude that Ms. Montgomery's perception of reality is

  distorted and that she is currently unable to rationally understand the

  government's rationale for her execution. Based on this evidence, the Court finds

  that Ms. Montgomery has made a strong showing that she will be able to make

  the threshold showing of insanity that requires a hearing.




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                                   II. BACKGROUND

        A.    Ms. Montgomery's Crime and Procedural Background

        The following is a summary of Ms. Montgomery's crime, adapted from the

  Eighth Circuit's factual recitation on direct appeal. United States v. Montgomery,

  635 F.3d 1074, 1079–80 (8th Cir. 2011).

        Ms. Montgomery met Bobbie Jo Stinnett at a dog show in April 2004.

  Ms. Montgomery learned through an online message board dedicated to breeding

  rat terriers that Ms. Stinnett was pregnant. Despite undergoing a sterilization

  procedure more than a decade earlier, Ms. Montgomery began telling friends and

  family in the spring of 2004 that she was pregnant.

        On December 15, 2004, Ms. Montgomery, using an alias, contacted

  Ms. Stinnett, expressing interest in purchasing a puppy from Ms. Stinnett.

  Ms. Montgomery went to Ms. Stinnett's house, where she strangled her and,

  using a kitchen knife, cut and removed Ms. Stinnett's baby girl. Ms. Stinnett was

  eight months pregnant at the time of her murder.

        Ms. Montgomery called her husband, who was unaware of her sterilization,

  and told him that she had gone into labor while Christmas shopping and had

  given birth at a women's clinic. They took the baby home. The following day, law

  enforcement officials went to their home to speak with Ms. Montgomery. She

  initially told officers that she had given birth at home, but upon further

  questioning at the sheriff's office confessed to killing Ms. Stinnett, removing the

  fetus from Ms. Stinnett's womb, and abducting the child. The baby, who was in

  good health, was returned to her father.


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        Ms. Montgomery was charged in the United States District Court for the

  Western District of Missouri with kidnapping resulting in death in violation of

  18 U.S.C. § 1201(a)(1). Id. at 1081. Ms. Montgomery asserted the defense of

  insanity. Id. at 1082. Defense experts alleged that Ms. Montgomery suffered from

  depression, borderline personality disorder, post-traumatic stress disorder

  (PTSD), and pseudocyesis, a condition in which a woman falsely believes she is

  pregnant, associated with objective physical signs of pregnancy. Id. In October

  2007, a jury rejected the insanity defense, convicted Ms. Montgomery of first-

  degree murder, and sentenced her to death.

        Ms. Montgomery's conviction and sentence were affirmed on direct appeal.

  Id. at 1099. The Supreme Court declined review. Montgomery v. United States,

  565 U.S. 1263 (2012).

        In March 2012, Ms. Montgomery moved to vacate her conviction and

  sentence pursuant to 28 U.S.C. § 2255. United States v. Montgomery,

  No. 4:12-cv-8001-GAF (W.D. Mo.). On March 3, 2017, the district court denied

  relief and denied a certificate of appealability on all claims. Id., dkt. 212. The

  Eighth Circuit denied leave to appeal, Montgomery v. United States, No. 17-1716

  (8th Cir. Jan. 25, 2019), and the Supreme Court denied certiorari, Montgomery

  v. United States, 140 S. Ct. 2820 (May 26, 2020) and Montgomery v. United

  States, 141 S. Ct. 199 (Mem) (Aug. 3, 2020) (denying rehearing).

        On October 16, 2020, the government set Ms. Montgomery's execution

  date for December 8, 2020. United States v. Montgomery, No. 5:05-cr-6002,

  dkt. 444 (W.D. Mo.). On November 19, 2020, the District Court for the District


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  of Columbia stayed the execution until at least January 1, 2021. Montgomery v.

  Barr, No. 20-cv-3261, 2020 WL 6799140, at *11 (D.D.C. Nov. 19, 2020). On

  November 23, 2020, the government set a new execution date of January 12,

  2021. United States v. Montgomery, No. 5:05-cr-6002, dkt. 445 (W.D. Mo.). In

  December, the District Court for the District of Columbia held that the new date

  was unlawfully set. Montgomery v. Rosen, 20-cv-3261, 2020 WL 7695994

  (D.D.C. Dec. 24, 2020). But the District of Columbia Court of Appeals summarily

  reversed that order on January 1, 2021, Montgomery v. Rosen, No. 20-5379

  (D.C. Cir. Jan. 1, 2021), so the January 12, 2021 execution date remains in

  effect.

            Ms. Montgomery's counsel filed the petition in this case days ago,

  on Friday January 8, 2021, and filed a corresponding motion to stay the next

  day. Pursuant to the briefing schedule entered by the Court on the evening of

  January        8,   the   government   filed       a   response   on   January   10   and

  Ms. Montgomery's counsel filed a reply today.

            B.    Ms. Montgomery's History of Trauma and Mental Illness

            While Ms. Montgomery's current mental state is the issue in this case, her

  past trauma and diagnoses are relevant because her clinical history informs the

  experts' opinions regarding her current mental state.

            Ms. Montgomery's childhood trauma was extreme and "consistent with

  torture." Dkt. 11-12 (Woods Decl. 2020). Her mother and stepfather were

  physically and emotionally abusive. Dkt. 11-5 at 42–43 (Porterfield Decl. 2016).

  Her mother found humor in the fact that Ms. Montgomery's first words as a


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  toddler were, "[d]on't spank me." Id. Her stepfather sexually assaulted her on a

  weekly basis for years. Id. at 43; see also Montgomery, 635 F.3d at 1080. Her

  mother's   emotional      abuse   included   sadistic   acts   such   as   taping

  Ms. Montgomery's mouth shut with duct tape for speaking and beating the

  family dog to death in front of Ms. Montgomery and her siblings. Id. at 43–44.

        The prison psychiatrist who treated Ms. Montgomery in the three years

  preceding her trial diagnosed her with depression, bipolar disorder, and PTSD.

  Dkt. 11-10 at 2, 14–15. At trial, medical experts from both sides agreed that

  Ms. Montgomery suffered from depression, borderline personality disorder, and

  PTSD. Montgomery, 635 F.3d at 1082. One of Ms. Montgomery's experts,

  Dr. Logan, characterized Ms. Montgomery's illness as depressive disorder which

  "at times included psychotic features such as hallucinations." Dkt. 11-6 at 80

  (Logan Report).

        After her trial, Ms. Montgomery was placed at the Federal Medical Center,

  Carswell ("FMC Carswell"), a federal prison in Texas for female inmates

  with special mental health needs. Dr. Camille Kempke, Ms. Montgomery's

  treating psychiatrist at FMC Carswell between 2008 and 2010, witnessed

  Ms. Montgomery in "an acute dissociative psychotic state" at least twice.

  Dkt. 16-1 at ¶ 2–3. Id.

        Two psychological experts hired by Ms. Montgomery's team in support of

  her § 2255 proceedings recounted the key role dissociation plays in

  Ms. Montgomery's mental functioning and provided declarations in support of

  the motion to stay in this action. Dr. Katherine Porterfield, who examined


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  Ms. Montgomery in 2016, is a clinical psychologist who has worked with

  survivors of torture and trauma for more than two decades. Dkt. 11-12 at 2

  (Porterfield Decl. 2020); dkt. 11-5 at 39 (Porterfield Decl. 2016). In her opinion,

  Ms. Montgomery suffers from complex post-traumatic stress disorder 1 (CPTSD),

  complex partial seizures and brain impairment, depression, and bipolar

  disorder. Dkt. 11-12 at 2. Ms. Montgomery's "CPTSD is characterized by severe

  dissociative symptoms." Id. As Dr. Porterfield explained, "[d]issociation is a

  process of the human nervous system in which neurochemical reactions to

  excessive stress lead to alterations in consciousness and perceptions of senses,

  the environment, and the self. Dissociation represents a              lowering of

  consciousness, sometimes to the point of actual rupture of consciousness and

  awareness." Id. at 2–3 (emphasis added).

        Dr. Porterfield described the dissociative symptoms            prevalent in

  Ms. Montgomery's functioning as follows: (1) confused thought process—

  "frequently confused thinking that indicated questions about the reality of

  certain events and perceptions in her past"; (2) disengagement—feeling "out of

  it" or as if she was in her own world and would forget what day it was or how she

  got places; (3) depersonalization—feeling detached from her own body or like she


        1  CPTSD is not a condition that is recognized by the Diagnostic and
  Statistical Manual of Mental Disorders. According to Dr. Porterfield, it is a
  "diagnostic category proposed for inclusion in the World Health Organization
  International Classification of Diseases, 11th version, and arrived at by
  consensus among a panel of international trauma experts." Dkt. 11-5 at 48.
  Because dissociative symptoms are included in the criteria for PTSD—which
  experts on both sides agree Ms. Montgomery has—the Court pays more attention
  to the symptoms described by Ms. Montgomery's experts rather than the
  diagnostic label of CPTSD or PTSD.
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  does not belong in her body; (4) derealization—feeling her surroundings are not

  familiar in some cases, not real; (5) identity dissociation—feeling like she has

  different people inside herself or like there are people inside who are talking to

  her; (6) memory disturbance—experiencing blank spells or loss of time; and

  (7) emotional constriction—having restricted or limited emotional experience.

  Dkt. 11-5 at 48–54.

        Dr. George Woods, a physician with a specialty in neuropsychiatric

  consultations, conducted clinical evaluations of Ms. Montgomery, which

  included interviews and assessments of Ms. Montgomery's neurological status,

  in January and February 2013 and July and August 2016. Dkt. 11-6 at 1;

  dkt. 11-12 at 34. He observed that Ms. Montgomery has cerebellar 2 dysfunction

  and other brain impairments. Dkt. 11-6 at 5. Ms. Montgomery's symptoms

  consistent    with   impairment of    the   cerebellum include    "distractibility,

  hyperactivity, impulsiveness, disinhibition, anxiety, irritability, ruminative and

  obsessive behaviors, dysphoria, and depression, tactile defensiveness and

  sensory overload, apathy, and childlike behavior." Id. Dr. Woods also diagnosed

  Ms. Montgomery with Bipolar I Disorder, Most Recent Episode Depressed, Severe

  with Psychotic Features." Id. at 19. Ms. Montgomery's brain impairments,

  exposure     to   extreme trauma, mood      disorder, and psychosis      "interact

  synergistically" preventing her from being able to act "rationally and logically."

  Id. at 24.


  2As Dr. Woods explained, "The cerebellum is a region of the brain that plays an
  important role in motor control and some cognitive functions such as attention
  and language and in regulating fear and pleasure." Id.
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        According to Dr. Woods, prior to the announcement of her execution date,

  the symptoms of Ms. Montgomery's illnesses had largely been controlled at

  FMC Carswell, due to three interactive factors: "1) a highly structured and

  predictable environment; 2) a stable community wherein she is largely

  surrounded by supportive female companions and where her exposure to the

  threat of sexual violence is greatly reduced; and 3) careful titration and

  monitoring of her regime of antipsychotic medications." Dkt. 11-12 at 35. The

  impact of her medication, in particular Risperdal, 3 an antipsychotic medication,

  when combined with a supportive community allowed her to function more

  successfully but did not resolve her underlying conditions. Id. at 40.

        C.       Ms. Montgomery's Current Mental Condition

        On October 16, 2020, the warden read Ms. Montgomery her execution

  warrant and she was removed from her community and activities and placed in

  a suicide cell. Dkt. 11-12 at 40–41. Dr. Woods believes that this disruption to

  her routine and the stress of learning of her impending execution have resulted

  in a resurgence of her symptoms. Id. at 35, 39.

        Ms. Montgomery's attorneys have reported the following symptoms or

  behaviors:

             •   auditory hallucinations with self-attacking content (hearing her
                 abusive mother's voice);




  3Upon her arrival at FMC Carswell, Ms. Montgomery's medication regiment was
  modified "from a commonly used combination of mood stabilizer and anti-
  depressant to Risperdal, a medication used for its antipsychotic properties."
  Dkt. 11-6 at 18 (Woods Decl. 2013).
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           •   sleep disturbances and nightmares of past sexual violence that are
               so disturbing she is unable to recount them;

           •   disruption in bodily functions related to elimination due to her
               perception of male guards' observation of her;

           •   distorted sense of reality (uncertainty about whether the infant she
               kidnapped is really her child; being unsure of what is real without
               access to her most trusted friend to confirm reality);

           •   religious delusions/hallucinations (believing God spoke with her
               through connect-the-dot puzzles, finding messages in a feather,
               seeing the moon in a location she found uncanny);

           •   gaps in consciousness of time passing due to periods of dissociating
               (staring blankly for prolonged periods without awareness, writing
               letters and then forgetting doing so);

           •   alterations in perception of the external world (feeling outside of
               herself as if she is "existing in a house in her mind");

           •   inappropriate affect, irritability, and emotional description; and

           •   distorted perceptions of reality evincing paranoia (believing a male
               psychologist stated to her, "Don't you just want to say 'fuck the
               government and kill yourself?'").

  Dkt. 11-2 at 3–4; dkt. 16-1. Dr. Porterfield, Dr. Woods, and Dr. Kempke all testify

  that these behaviors indicate current psychosis. 11-12 at 3–4 (Dr. Porterfield:

  "manifestations of dissociation, disturbed thinking and likely psychosis");

  id. at 39 (Dr. Woods: "a reemergence of psychotic symptomology" indicating that

  Ms. Montgomery has "lost contact with reality"); Dkt. 16-1 (Dr. Kempke:

  observations "indicate that Mrs. Montgomery is psychotic").

        Based on reported observations, review of past materials, review of BOP

  medical records, and, in Dr. Kempke's case, her past observation of

  Ms. Montgomery     experiencing psychosis,      all   three   experts   opine   that

  Ms. Montgomery is presently unable to rationally understand the government's

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  rationale for her execution as required by Ford. Dkt. 11-12 at 4 (Dr. Porterfield),

  41 (Dr. Woods); dkt. 16-1 at ¶ 17 (Dr. Kempke).

        Neither Dr. Porterfield nor Dr. Woods has conducted an in-person

  evaluation of Ms. Montgomery since 2016 on account of the COVID-19

  pandemic. Dkt. 11-12 at 3, 34. Both doctors acknowledge that an evaluation

  could be conducted by video. Id. at 4–5, 42. They express concern that their

  ability to detect Ms. Montgomery's psychiatric symptoms would be hindered by

  a video evaluation, especially since Ms. Montgomery's dissociative symptoms can

  be subtle and "often appear as absences, blank responses, silence, difficulty

  focusing, fatigue, attentional lapses and distractibility." Id. at 4–5, 42.

  Dr. Porterfield   also    expressed     concern   that   "a   remote   evaluation   of

  Mrs. Montgomery risks triggering her and leaving her in a compromised state

  that this evaluator would be unable to detect and properly address." Id. at 5.

        The government disputes Dr. Woods and Dr. Porterfield's conclusion.4

  According to Dr. Christina Pietz, a forensic psychologist contracted by the U.S.

  Attorney's Office for the Western District of Missouri in anticipation of possible

  Ford litigation, "no professional evaluating competency should rely solely on

  [counsel-provided] information and historical clinical evaluations in making a

  determination     as     to   current   competency"      because   "competency      (or

  incompetency) is a present-tense issue." Dkt. 13-3 at ¶ 16. Accordingly,

  Dr. Porterfield and Dr. Woods's "opinions as to current competency do not



  4Dr. Kempke's declaration was filed with Ms. Montgomery's reply brief so the
  government did not have the opportunity to respond to it.
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  appear to have been based on sufficient, current facts or data to conform to any

  known professional standards for evaluating competency." Id. at ¶¶ 16–18.

  Dr. Pietz also notes that during the COVID-19 pandemic, she has conducted

  several mental competency evaluations remotely that she believes comports with

  professional standards. Id. at ¶ 9. Dr. Pietz opines that there is no "evidence that

  Mrs. Montgomery is suffering from a major mental illness that would impair her

  ability to comprehend her legal situation or interact with her attorneys." Id. at

  ¶ 12. Unlike Ms. Montgomery's experts, Dr. Pietz has never evaluated

  Ms. Montgomery in person. Id. at ¶ 8.

        The    government      has    also     presented   evidence     contradicting

  Ms. Montgomery's allegation of present incompetency, including summary

  excerpts of BOP medical records, excerpts of transcripts of jail calls of

  Ms. Montgomery talking with family members and friends, and declarations by

  Dr. Pietz and Dr. Leslie Wheat, a BOP psychologist who serves as the Regional

  Psychology Services Administrator for the South Central Region. Dkts. 13-3;

  13-4; 13-5; 13-6.

        The government argues that the BOP medical records reflect a

  comprehension of her legal situation and impending execution. Dkt. 13-4 at ¶ 10

  (summarizing interactions with BOP clinicians). Those records indicate that

  Ms. Montgomery reported feeling "great," positive, and hopeful about the future

  after her first execution date was vacated; reported sleeping poorly due to

  concern about the execution; and described not being forthcoming with BOP

  psychologists about her feelings on advice of her attorneys. Id.


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        In phone calls with relatives between August 6, 2020, and January 2,

  2021, Ms. Montgomery discussed issues related to her crime and upcoming

  execution, including recalling the anniversary of her crime, discussing the

  possibility of her upcoming execution including plans for cremation, the delay of

  her execution due to her attorneys contracting COVID-19, and discussing her

  petition for clemency and other ongoing legal challenges. Dkt. 13-6.

                              III.      APPLICABLE LAW

        A.    Standard for Stay of Execution

        In deciding whether to stay an execution, the Court must consider:

  "(1) whether the stay applicant has made a strong showing that [s]he is likely to

  succeed on the merits; (2) whether the applicant will be irreparably injured

  absent a stay; (3) whether issuance of the stay will substantially injure the other

  parties interested in the proceeding; and (4) where the public interest lies."

  Nken v. Holder, 556 U.S. 418, 434 (2009). "The first two factors . . . are the most

  critical." Id. Before entering a stay, the Court must also consider "the extent to

  which the inmate has delayed unnecessarily in bringing the claim." Nelson v.

  Campbell, 541 U.S. 637, 649-50 (2004).

        B.    Standards for Claim of Incompetence

        Under Ford v. Wainwright, 477 U.S. 399 (1986), and its progeny, "[t]he

  Eighth Amendment . . . prohibits the execution of a prisoner whose mental illness

  prevents [her] from 'rationally understanding' why the State seeks to impose that

  punishment." Madison v. Alabama, 139 S. Ct. 718, 722 (2019) (quoting Panetti

  v. Quarterman, 551 U.S. 930, 959 (2007)). "A prisoner's awareness of the State's


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  rationale for an execution is not the same as a rational understanding of it. Ford

  does not foreclose inquiry into the latter." Panetti, 551 U.S. at 959. While doctors

  and other experts can help a judge understand the prisoner's cognitive defects,

  "the sole inquiry for the court remains whether the prisoner can rationally

  understand the reasons for his death sentence." Madison, 139 S. Ct. at 728.

        Under Ford, Ms. Montgomery's burden is to make a substantial showing

  that her "mental illness prevents [her] from 'rational[ly] understanding' why the

  [government] seeks to [execute her]." Madison, 139 S. Ct. at 722 (quoting Panetti,

  551 U.S. at 959). The question is whether her "concept of reality is so impaired

  that [she] cannot grasp the execution's meaning and purpose or the link between

  [her] crime and its punishment." Id. (quotation marks and citation omitted). The

  "standard focuses on whether a mental disorder has had a particular effect: an

  inability to rationally understand why the [government] is seeking execution."

  Madison, 139 S. Ct. at 728 (emphasis original). "As Ford and Panetti recognize,

  a delusional disorder can be of such severity—can 'so impair the prisoner's

  concept of reality'—that someone in its thrall will be unable 'to come to grips

  with' the punishment's meaning." Madison, 139 S. Ct. at 729 (quoting Panetti,

  551 U.S. at 958). If Ms. Montgomery makes a "'substantial threshold showing of

  insanity' the protection afforded by procedural due process includes a 'fair

  hearing' in accord with fundamental fairness." Panetti, 551 U.S. at 949 (quoting

  Ford, 477 U.S. at 426, 424).




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                                 IV.    DISCUSSION

        A. Likelihood of Success on the Merits

        Counsel argue that executing Ms. Montgomery without first providing the

  "fair hearing" required by Ford would violate her right to due process under the

  Fifth Amendment. To succeed on the Fifth Amendment claim, counsel must

  make a "'substantial threshold showing of insanity.'" Panetti, 551 U.S. at 950

  (quoting Ford, 477 U.S. at 426). Counsel have made the required substantial

  threshold showing and, in doing so, demonstrated a strong likelihood of success

  on the Fifth Amendment claim.

        Three experts—including Dr. Kempke, a retired BOP psychiatrist who

  treated Ms. Montgomery while she was in custody—have concluded that

  Ms. Montgomery's current mental state is so divorced from reality that she

  cannot rationally understand the government's rationale for her execution.

  Dkt. 16-1, at p. 2, ¶ 17 (Dr. Kempke); dkt. 11-2 at 4, ¶ 6 (Dr. Porterfield); id. at

  41 (Dr. Woods).

        The Court finds the experts' declarations reliable and sufficient to make

  the required threshold showing. The experts each relied on a combination of the

  relevant scientific literature, past direct observations of Ms. Montgomery, and

  descriptions of Ms. Montgomery's current behavior relayed by counsel. While the

  Panetti standard concerns the consequence, not the diagnoses of mental illness,

  Madison, 139 S. Ct. at 728, Ms. Montgomery's past conduct and diagnoses are

  relevant to assessing her current condition. See Ferguson v. Sec'y, Fla. Dep't of

  Corr., 716 F.3d 1315, 1320 (11th Cir. 2013) ("[T]he history of [the petitioner's]


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  mental condition, the opinions of experts regarding it, and judicial decisions

  about it over the years are all relevant to a discussion of his present mental

  condition."). As discussed above, Dr. Woods has found that Ms. Montgomery has

  physical brain impairments, dkt. 11-6 at 5, and has diagnosed her with

  "Bipolar I Disorder, Most Recent Episode Depressed, Severe with Psychotic

  Features." Id. at 19. Dr. Porterfield found that Ms. Montgomery suffers from

  complex post-traumatic stress disorder (CPTSD), complex partial seizures and

  brain impairment, depression, and bipolar disorder. Dkt. 11-12 at 2. The prison

  psychiatrist who treated Ms. Montgomery in the three years preceding her trial

  diagnosed her with depression, bipolar disorder, and PTSD. Dkt. 11-10 at 2,

  14−15. Ms. Montgomery's current behaviors are considered in this context.

        Those current behaviors include, among other things, Ms. Montgomery

           •   experiencing auditory hallucinations;

           •   being unsure what is real;

           •   believing that a male psychologist stated to her, "Don't you just want
               to say 'fuck the government and kill yourself?'";

           •   expressing uncertainty about whether the infant she kidnapped is
               really her child;

           •   stating that God spoke with her through connect-the-dot puzzles;

           •   experiencing lapses of time, as evidenced by her staring blankly for
               prolonged periods; and

           •   reporting experiences of "feeling outside herself—as if watching from
               a distance."

  See dkt. 11-2 at 3–4; dkt. 16-1.




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        While treating Ms. Montgomery in the past, Dr. Kempke personally

  observed her "in an acute dissociative psychotic state at least two times."

  Dkt. 16-1 at 1, ¶ 7. Dr. Kempke explains that many of Ms. Montgomery's

  behaviors indicate that she is again experiencing psychotic dissociation. Id. at 2,

  ¶¶ 14−17. Given Dr. Kempke's past direct observations of Ms. Montgomery

  experiencing    a    dissociative   psychotic    state,   her    opinions    about

  Ms. Montgomery's current competencies are especially probative.

        Dr. Kempke's conclusions are supported by those of Dr. Woods and

  Dr. Porterfield, both of whom have diagnosed Ms. Montgomery in the past.

  Dr. Woods opines that Ms. Montgomery's "grasp of reality has always been

  tenuous" and that her current symptoms indicate that she "is further

  disconnected from reality." Dkt. 11-12 at 41. Likewise, Dr. Porterfield opines that

  based on Ms. Montgomery's current behavior, in the context of past interactions,

  Ms. Montgomery's "concept of reality is [] impaired." Id. at 4, ¶ 6.

        The   respondent argues that none          of   Ms. Montgomery's experts'

  conclusions are reliable because they have not interviewed Ms. Montgomery in

  her current condition. But experts may rely on the statements of laypeople in

  forming opinions about Ms. Montgomery's mental state. See, e.g., United States

  v. Brownlee, 744 F.3d 479, 481−82 (7th Cir. 2014) ("[A]n expert witness is

  permitted to rely on any evidence, whether it would be admissible or inadmissible

  if offered by a lay witness, that experts in the witness's area of expertise

  customarily rely on."). Indeed, each expert acknowledged that a direct interview

  would be useful for diagnosis, but that the descriptions of Ms. Montgomery's


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  current behavior, when coupled with their past treatment or evaluations, was

  sufficient to allow them to reach an opinion to a reasonable degree of scientific

  (or medical) certainty. Dkt. 11-12 at 4, ¶ 6; id. at 41; dkt. 16-1 at 2, ¶ 17.

        The Court finds these experts' declarations satisfy the required preliminary

  showing that Ms. Montgomery's current mental state would bar her execution.

  Ford did not set a precise standard for competency, Panetti, 551 U.S. at 957, and

  the concept of "rational understanding" is hard to define. Id. at 959. While there

  similarly are no set criteria describing what constitutes a "substantial threshold

  showing," the record before        the Court     contains ample evidence that

  Ms. Montgomery's current mental state is so divorced from reality that she

  cannot rationally understand the government's rationale for her execution.

  Dkt. 16-1, at 2, ¶ 17 (Dr. Kempke); dkt. 11-2 at 4, ¶ 6 (Dr. Porterfield); id. at 41

  (Dr. Woods). See Panetti, 551 U.S. at 950 (finding that petitioner had made

  substantial threshold showing); see id. at 970 (Thomas, J., dissenting) (noting

  that the majority found the "threshold showing" satisfied with one unsworn, one-

  page letter from a doctor and another one-page declaration from a law professor,

  both relying on the petitioner's past medical history).

        The government presents relevant contrary evidence, including transcripts

  of Ms. Montgomery's recent phone conversations and reports from BOP staff

  observations. While this evidence certainly shows that Ms. Montgomery

  understands that she is supposed to be executed soon, it does not demonstrate

  that she rationally understands the "meaning and purpose of the punishment."

  Madison, 139 S. Ct. at 727. Moreover, "[a]s Ford and Panetti recognize, a


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  delusional disorder can be of such severity—can 'so impair the prisoner's concept

  of reality'—that someone in its thrall will be unable 'to come to grips with' the

  punishment's meaning." Madison, 139 S. Ct. at 729.

        B. Irreparable Injury

        Ms. Montgomery would be irreparably injured if the government executes

  her when she is not competent to be executed.

        C. Balancing Harms, Public Interest, and Equitable Concerns

        "'Both the [government] and the victims of crime have an important

  interest in the timely enforcement of a sentence.'" Bucklew v. Precythe, 139 S.

  Ct. 1112, 1133 (2019) (quoting Hill v. McDonough, 547 U.S. 573, 584 (2006)).

  It is also in the public interest to ensure that the government does not execute a

  prisoner who due to her mental condition "cannot appreciate the meaning of a

  community's judgment." Madison, 139 S. Ct. at 727. "[I]f the Constitution

  renders the fact or timing of his execution contingent upon establishment of a

  further fact, then that fact must be determined with the high regard for truth

  that befits a decision affecting the life or death of a human being." Panetti, 551

  U.S. at 948–49. A hearing has not been held to determine Ms. Montgomery's

  competence. Because Ms. Montgomery has made "a substantial threshold

  showing of insanity," she is entitled to a fair hearing. Ford, 477 U.S. at 426.

        The government's primary equitable argument is that counsel should have

  filed this claim and motion for stay sooner. Indeed, "last-minute filings that are

  frivolous and designed to delay executions can be dismissed in the regular

  course." Panetti, 551 U.S. at 946. But counsel's filing is not frivolous. As


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  discussed elsewhere in this order, Ms. Montgomery has been diagnosed with

  physical brain impairments and multiple mental illnesses, and three experts are

  of the opinion that, based on conduct and symptoms reported to them by

  counsel, Ms. Montgomery's perception of reality is currently distorted and

  impaired.

        Additionally, the timing is not unreasonable given Ms. Montgomery's

  deterioration,   this   case's   procedural   history   and    what's   at   stake.

  Ms. Montgomery's condition began to devolve when the government first

  announced her execution date. But within a month, the execution was stayed.

  Counsel believed, and the District of Columbia District Court agreed, that the

  January 12 execution date was unlawful. Not until January 1, 2021, was the

  January 12 execution date relatively set in stone, and counsel filed this petition

  one week later. It is also worth noting that a brief stay of execution was initially

  granted to provide counsel time to recover from debilitating COVID-19 symptoms

  that included extreme fatigue, impaired thinking and judgment, and inability to

  concentrate. See Montgomery v. Barr, No. 20-3261 (D.D.C. Nov. 19, 2020), 2020

  WL 6799140 at *7.

        While the Court is mindful about the possibility of strategic litigation,

  neither that possibility or the delay outweigh the need for the stay when counsel

  has made a threshold showing that Ms. Montgomery is presently incompetent to

  be executed. Madison, 139 S. Ct. at 727 ("Similarly, Ford and Panetti stated that

  it 'offends humanity' to execute a person so wracked by mental illness that he

  cannot comprehend the 'meaning and purpose of the punishment.'").


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                               V.    CONCLUSION

        Ms. Montgomery's motion to stay execution, dkt. [12], is GRANTED to

  allow the Court to conduct a hearing to determine Ms. Montgomery's competence

  to be executed. The Court will set a time and date for the hearing in a separate

  order in due course.

  SO ORDERED.


  Date: 1/11/2021



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